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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Jarrett Payne, et al.,


                          Plaintiff(s),                        20 Civ. 8924 (CM) (GWG)
                                                               20 Civ. 10541 (CM) (GWG)
                                                               20 Civ. 10291 (CM) (GWG)
-against-                                                      21 Civ. 322 (CM) (GWG)
                                                               21 Civ. 533 (CM) (GWG)

                                                               ORDER
Mayor Bill De Blasio, et al.,


                           Defendant(s),
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McMahon, C.J.:

        The Court will hold a conference in this matter on Monday, February 22, 2021, at 2:00

P.M. in Courtroom 24A.

        This is an open proceeding, but we have limited space in the courtroom due to the Covid-

19 pandemic and social distancing requirements. Members of the public and press may dial in

at: 888-363-4749; the Access Code is: 9054506. This line will remain on mute for the duration

of the conference.



February 19, 2021




                                                       Colleen McMahon
                                                        Chief Judge
